Case 1:22-cr-20151-CMA Document 19 Entered on FLSD Docket 06/01/2022 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 22-20151-CR-ALTONAGA

  UNITED STATES OF AMERICA,

          Plaintiff,
  vs.

  OKECHUKWU KINGSLEY UDEBUIKE,

        Defendant.
  _____________________________________/

                       ORDER STRIKING NOTICE OF UNAVAILABILITY

          THIS CAUSE came before the Court on Defendant, Okechukwu Kingsley Udebuike’s

  Notice of Unavailability [ECF No. 18]. Neither the Local Rules nor the Federal Rules of Civil

  Procedure authorize a notice of unavailability, and the Court is unwilling to undertake the

  responsibility of keeping track of the whereabouts of parties or their counsel in every case before

  it. If a party wishes to move a hearing, trial, or other deadline set by the Court, an appropriate

  motion must be filed.     A blanket motion for continuance or extension of time and/or for

  protective order that does not refer to a specific deadline, hearing or a trial date is also

  inappropriate. Therefore, the Notice of Unavailability [ECF No. 18] is STRICKEN.

          DONE AND ORDERED in Miami, Florida, this 1st day of June, 2022.



                                                 ________________________________________
                                                 CECILIA M. ALTONAGA
                                                 CHIEF UNITED STATES DISTRICT JUDGE

  cc:   counsel of record
